                Case 22-11068-JTD   Doc 302-1   Filed 12/23/22   Page 1 of 3




                                     Exhibit A




{1368.002-W0069478.}
                Case 22-11068-JTD              Doc 302-1        Filed 12/23/22         Page 2 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al.,1                                      Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                Ref. Nos. 94, 95, 140, 141, & ___


       ORDER (A) AUTHORIZING THE DEBTORS’ INDEMNIFICATION AND
      EXCULPATION MOTION AND THE INTERIM INDEMNIFICATION AND
    EXCULPATION ORDER TO BE UNSEALED (B) GRANTING RELATED RELIEF

                  Upon the Certification of Counsel (the “Certification”)2 of FTX Trading Ltd. and

its affiliated debtors and debtors-in-possession (collectively, the “Debtors”), for entry of an order

(this “Order”) authorizing the Indemnification and Exculpation Motion and the Interim

Indemnification and Exculpation Order to be unsealed; and this Court having jurisdiction to

consider the Certification pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order

of Reference from the United States District Court for the District of Delaware, dated February 29,

2012; and this Court being able to issue a final order consistent with Article III of the United States

Constitution; and venue of these Chapter 11 Cases and the Certification in this district being proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core proceeding pursuant to 28

U.S.C. § 157(b); and upon the record of the Hearing and all of the proceedings had before this

Court; and this Court having found and determined that there is good and just cause for the relief

set forth in this Order; and after due deliberation and sufficient cause appearing therefor;



1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX.
2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Certification.
{1368.002-W0069484.2}
                Case 22-11068-JTD       Doc 302-1      Filed 12/23/22    Page 3 of 3




                  IT IS HEREBY ORDERED THAT:

                  1.     The Indemnification and Exculpation Motion [D.I. 94] and the Interim

Indemnification and Exculpation Order [D.I. 140] shall be unsealed.

                  2.     The Clerk of the Court is authorized and directed to take all actions

necessary to unseal the Indemnification and Exculpation Motion and the Interim Indemnification

and Exculpation Order and make them publicly available on the Court’s docket.

                  3.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

                  4.     The Debtors are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Order.

                  5.     This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the interpretation or implementation of this Order.

 Dated: __________________
        Wilmington, Delaware                           The Honorable John T. Dorsey
                                                       United States Bankruptcy Judge




{1368.002-W0069484.2}                            -2-
